1 Case 2:09-cv-002 00 Document 1 Filed 02/13/09 @ 1 of 29 Feu | u

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IN THE UNITED STATES DISTRICT SON istic OF TEXAS
FOR THE NORTHERN DISTRICT FILED
SON DALLAS DIVISION
A FEB | 3 2008
CLST HOLDINGS, INC., §
§ CLERK, US. DISTRI qopet
Plaintiff, § ee “i
§ Depaty \ \
VS. § :
CIVIL ACTION NO.
RED OAK FUND, LP, RED OAK :
PARTNERS, LLC, and DAVID - .-
SANDBERG, : 3-O9CVO291-P
Defendants. §

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF

COMES NOW, Plaintiff CLST Holdings, Inc. (“CLST”) and files this its Original
Complaint and Application for Injunctive Relief, complaining of Defendants Red Oak Fund, LP,
Red Oak Partners, LLC, and David Sandberg (collectively “Red Oak’), and in support thereof
would respectfully show the Court as follows:

PARTIES

1. CLST is a Delaware corporation. Shares of CLST’s common stock are traded on
the pink sheets.

2. Red Oak Fund, LP is a Delaware Corporation with registered agent,
Blumbergexcelsior Corporate Services, Inc. 1220 N. Market Street, Suite 806, Wilmington
Delaware 19801.

3. Red Oak Partners, LLC is a New York limited liability company with DOS

process at Attn. David Sandberg, 145 4" Avenue, Apt. 15A, New York, New York, 10003.

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 1

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4, David Sandberg is an individual and a citizen of the State of New York and can
be served with process at 145 4" Avenue, Apt. 15A, New York, New York, 10003. He is a
portfolio analyst with Red Oak Partners, LLC.

JURISDICTION AND VENUE

5. This action arises under Sections 13(d)and 14(d) of the Securities Exchange Act
of 1934, as amended (the “’34 Act”), 15 U.S.C. §§ 78m and 78n, and the rules and regulations
promulgated thereunder by the SEC.

6. Jurisdiction over the subject matter of this action is based upon 28 U.S.C. § 1331
and 15 U.S.C. § 78aa.

7. Venue in this district is proper pursuant to 15 U.S.C. §78aa and 28 U.S.C.
§1391(b)(2).

8. Declaratory relief is appropriate pursuant to 28 U.S.C. § 2201 because an actual
controversy exists regarding Red Oak’s compliance with Rule 14e-5(a), Rule 14d-5(f), Rule
14(d)(1), and Section 13(d) of the ’34 Act.

FACTUAL BACKGROUND

9. On or about January 30, 2009, Red Oak Partners, LLC, through its agent David
Sandberg, contacted CLST about making a tender offer for CLST’s common stock. Pursuant to
Rule 14d-5(a), Red Oak Partners, LLC requested that CLST either disseminate its tender offer or
provide it with a stockholder list and security position listings. CLST received this
correspondence on February 2, 2009. In this correspondence, Red Oak acknowledged its
obligations under 14d-5(f) of the Exchange Act with respect to the requested stockholder list. A

true and correct copy of this correspondence is attached hereto as Exhibit A.

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 2

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10. ‘In accordance with Rule 14d-5(a)’s requirements, CLST made an election about
whether to disseminate Red Oak Partners, LLC’s tender offer or to provide Red Oak Partners,
LLC with its shareholder list. CLST elected to comply with 14d-5(a) by providing Red Oak with
its stockholder list and security position statement. CLST provided that information to Red Oak
on February 6, 2009. At or near that time, Red Oak informed CLST that it owned 4.7 percent of
CLST’s outstanding shares.

11. On February 3, 2009, at 2:25 P.M., Red Oak issued a press release announcing its
intention to make a tender offer. In that press release, Red Oak announced its plan to commence
a tender offer for up to 70% of the outstanding shares of CLST, at an offer price of $0.25 per
share. A true and correct copy of this press release is attached hereto as Exhibit B.

12. On February 3, 2009, 1,089,500 shares of CLST were traded. Upon information
and belief, those shares are held by Red Oak and/or its agents or affiliates.

13. On February 4, 2009, CLST publicly announced that Red Oak Fund, L-P.,
managed by Red Oak Partners, LLC, had expressed its intent to commence a tender offer for up
to 70% of the outstanding shares of common stock of CLST at $0.25 per share. CLST stated that
its board of directors was reviewing and considering the tender offer, and that it would make
recommendations at a later date. A true and correct copy of this press release is attached hereto
as Exhibit C.

14. In light of Red Oak’s proposed tender offer and the unusual trading volume in its
stock, and in an attempt to protect stockholder value, CLST adopted a rights plan and declared a
dividend of one preferred share purchase right for each outstanding share of common stock of
the company on February 5, 2009. The dividend is payable to stockholders of record as of

February 16, 2009. All terms of the rights and the rights plan are to be set forth in a Rights

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 3

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Agreement, by and between CLST and Mellon Investor Services, LLC (the “Rights Plan”).
CLST announced the adoption of the Rights Plan on that same date. A true and correct copy of
this press release is attached hereto as Exhibit D.

15. On February 6, 2009, an uncharacteristically large volume of CLST shares was
traded, 401,000, at $0.22. Upon information and belief, Red Oak and/or its agents or affiliates
purchased those shares.

15. On February 9, 2009, Red Oak Fund, LP, a fund managed by Red Oak Partners,
LLC, announced that it was terminating its previously announced plan to commence a tender
offer for shares of CLST’s common stock in light of CLST’s announcement that it had adopted a
“poison pill” rights plan. A true and correct copy of this press release is attached hereto as
Exhibit E.

17. Upon information and belief, Red Oak had no intention of abandoning its plan to
acquire large quantities of CLST shares and its actions have been wholly inconsistent with that
announcement.

18. On February 9, 2009, 2,590,500 CLST shares were traded, in multiple trades, all
at $0.23. That amount represents approximately 12% of CLST’s outstanding shares. Upon
information and belief, Red Oak and/or its agents or affiliates purchased those shares.

19. The abnormal trading activity continued to occur, and on February 12, 2009 at
12:09 P.M., 755,800 shares were traded at $0.24 per share. Minutes later, at 12:20 pm, another
761,200 shares were traded at $0.26 per shares. Upon information and belief, Red Oak and/or its

agents or affiliates purchased those shares.

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 4

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20. | A CLST shareholder has contacted CLST and informed it that Red Oak has been
aggressively offering to purchase CLST stock from him. A true and correct copy of this
correspondence is attached hereto as Exhibit F.

COUNT 1
(Violations of Rule 14(e)-5)

21. | CLST repeats the allegations of preceding paragraphs 1-20 as if fully set forth
herein.

22. Rule 14(e)-5(a) provides, in relevant part that: “As a means reasonably designed
to prevent fraudulent, deceptive or manipulative acts or practices in connection with a tender
offer for equity securities, no covered person may directly or indirectly purchase or arrange to
purchase any subject securities or any related securities except as part of the tender offer. This
prohibition applies from the time of public announcement of the tender offer until the tender
offer expires.”

23. Red Oak’s February 4, 2009 announcement triggered Rule 14(e)-5’s
requirements, as that public announcement was a written communication by the offeror,
reasonably designed to, or having the effect of, informing the public or security holders in
general about the tender offer.

24. Although Red Oak purported to “abandon” its tender offer, its actions subsequent
to the purported termination are inconsistent with that stated intention, and actually evidence Red
Oak’s desire to continue to accumulate CLST shares without the restrictions imposed under
Rule14(e)-5. '

25. | Upon information and belief, Red Oak violated Rule 14(e)-5 by directly or

indirectly purchasing or arranging to purchase CLST shares not in connection with its tender

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 5

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offer and without complying with the procedural, disclosure, and anti-fraud requirements
applicable to tender offers regulated under Section 14(d).

26. | CLST and the investing public will be irreparably harmed in the absence of the
declaratory and equitable relief as prayed for herein.

COUNT 2
(Violations of Rule 14d-5(f))

27. CLST repeats the allegations of preceding paragraphs 1-26 as if fully set forth
herein.

28. Rule 14d-5(f) addresses the dissemination of certain tender offers by the use of
stockholder lists and security position listing. The Rule requires a subject company either to
mail a bidder’s tender offer materials to its shareholders or to provide that bidder with a
shareholder list so that it may send the tender offer materials itself.

29. If a subject company has decided to provide the bidder with a shareholder list,
14d-5(f) requires that the bidder use the shareholder list exclusively in the dissemination of
tender offer materials to security holders in connection with the bidder’s tender offer. Rule 14d-
5(f) also requires the bidder to return the shareholder list promptly after the termination of the
bidder’s tender offer. Rule 14d-5(f) requires the bidder to accept, handle, and return the
shareholder lost on a confidential basis, and prevents a bidder from retaining the shareholder list,
or any information derived from such list, after the termination of the bidder’s tender offer.

30. Despite its February 9, 2009 announcement that it was “abandoning” its plans to
commence a tender offer, Red Oak has failed to return to CLST its stockholder list or security

position listing.

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 6

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31. Further, as CLST has learned from certain shareholders, Red Oak is contacting
those shareholders and attempting to purchase their shares. Upon information and belief, Red
Oak is using CLST’s stockholder list to contact those shareholders.

32. Upon information and belief, Red Oak violated Rule 14d-5(f) by using CLST’s
stockholder list for a purpose other than in connection with the dissemination of tender offer
materials in connection with the bidder’s tender offer, by failing to return the stockholder list to
CLST after “abandoning” its tender offer, and by failing to accept, handle, or return the
stockholder list to CLST on a confidential basis.

33. | CLST and the investing public will be irreparably harmed in the absence of the
declaratory and equitable relief as prayed for herein.

COUNT 3
(Violations of Rule 14(d)-10)

34. | CLST repeats the allegations of preceding paragraphs 1-33 as if fully set forth
herein.

35. Section 14(d)(7) of the ’34 Act provides: “Where any person varies the terms of a
tender offer or request or invitation for tenders before the expiration thereof by increasing the
consideration offered to holders of such securities, such person shall pay the increased
consideration to each security holder whose securities are taken up and paid for pursuant to the
tender offer or request or invitation for tenders whether or not such securities have been taken up
by such person before the variation of the tender offer or request or invitation.” In the same vein,
Rule 14(d)-10 addresses equal treatment of security holders. Specifically, it provides that no
bidder shall make a tender offer “unless the tender offer is open to all security holders of the

class of securities subject to the tender offer”; and “the consideration paid to any security holder

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 7

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for securities tendered in the tender offer is the highest consideration paid to any other security
holder for securities tendered in the tender offer.”

36. | Upon information and belief, Red Oak has violated the “all holders/best price
rule” by purchasing shares pursuant to its tender offer at differing prices.

37. CLST and the investing public will be irreparably harmed in the absence of the
declaratory and equitable relief as prayed for herein.

COUNT 4
(Violations of 13(d) of the ’34 Act)

38. | CLST repeats the allegations of preceding paragraphs 1-37 as if fully set forth
herein.

39. Section 13(d)(1) of the ’34 Exchange Act is a reporting provision that requires
any person who accumulates more than 5% of the stock of a publicly held company to disclose
certain information to the issuer of the stock, the exchanges on which the stock is traded, and the
SEC.

40. | Under Section 13(d)(1), the information that the filer must disclose includes (1)
the background and identity of the person who acquired the shares and all other persons by
whom or on whose behalf the purchases have been or are to be effected; (2) the source and
amount of the funds used or to be used in making the purchases; (3) if the purpose of the
purchases it to acquire control of the business, any plans or proposals to liquidate such issuer, to
sell its assets to or merge it with any other persons, or to make any other major change in the
business or corporate structure; (4) the number of shares owned and the number of shares the
person has a right to acquire, directly or indirectly, including those by each associate of such

person, giving the background, identity, residence, and citizenship of each associate, and (5)

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 8

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information as to any contracts, arrangements, or understandings that have been entered into, and
the details thereof. That information is all to be included on a Schedule 13D.

41. | Upon information and belief, Red Oak has accumulated more than 5% of CLST’s
stock, and is believed to have exceeded that percentage on or about February February 6, 2009.
Because Red Oak’s acquisition is connected to a tender offer and a hostile takeover, Red Oak did
not have ten days to file its Schedule 13D, but instead had only three days.

42. Upon information and belief, despite accumulating more than 5% of CLST’s
stock, Red Oak failed to timely disclose this information, and all of the other required
information, in a Schedule 13D.

43. | CLST and the investing public will be irreparably harmed in the absence of the
declaratory and equitable relief as prayed for herein.

REQUEST FOR PRELIMINARY INJUNCTION

44. CLST repeats the allegations of preceding paragraphs 1-44 as if fully set forth
herein.

45. | CLST and its shareholder will suffer irreparable injury if Red Oak is not enjoined
while this suit is pending from violating Rule 14(e)-5 by continuing to purchase, either directly
or indirectly through its agents and affiliates, CLST shares without complying with the
procedural, disclosure, and anti-fraud provisions of the law applicable to tender offers. CLST
will also suffer irreparable injury if Red Oak is not enjoined from violating Rule 14d-5(d)(4) by
retaining CLST’s stockholder list and using that list to contact CLST’s shareholders. CLST’s
injury is imminent because abnormal trading activity is currently occurring, and CLST’s Rights
Plan becomes effective on Monday, February 16, 2009. CLST’s injury is irreparable because

CLST stands to lose corporate control that could not be restored, and because CLST’s

PLAINTIFFS’ ORIGINAL COMPLAINT
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confidential shareholder lists are currently being used for purposes not within the scope of Rule
14d-5(d)(4).

46. There is no adequate remedy at law because control of the corporation is at issue
and Red Oak and/or its affiliates is attempting to obtain control by unlawful means.

47. There is a substantial likelihood of success on the merits because CLST will be
able to prove that Red Oak and/or its affiliates have continued to engage in a hostile tender offer
in a manner that violates the federal securities laws.

48. The harm faced by CLST outweighs the harm that would be sustained by Red
Oak if the preliminary injunction were granted in that CLST stands to lose corporate control
which it currently enjoys, and Red Oak and/or its affiliates are acting in violation of the federal
securities laws. Because of the procedural requirements of Section 14(d)(1), Red Oak would
already be precluded from the acts sought to be enjoined.

49. Issuance of a preliminary injunction would not adversely affect the public interest
because CLST seeks to enforce the very securities laws enacted to protect the investing public.

50. | CLST is willing to post a bond in the amount the court deems appropriate.

51. CLST asks the Court to set its application for preliminary injunction for hearing at
the earliest possible time and, after hearing the request, to issue a preliminary injunction against
Red Oak.

REQUEST FOR PERMANENT INJUNCTION

52. | CLST asks the Court to set its application for injunctive relief for a full trial on
the issues in this application and, after the trial, to issue a permanent injunction against Red Oak.

PRAYER FOR RELIEF

WHEREFORE, CLST prays for relief in the form of an order:

PLAINTIFFS’ ORIGINAL COMPLAINT
AND APPLICATION FOR INJUNCTIVE RELIEF - Page 10

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(a) Declaring that Red Oak failed to comply with Rule 14(e)-5(a), Rule 14d-5(f),
Rule 14(d)(1) and Section 13(d) of the 34 Act.

(b) Enjoining Red Oak from violating Rule 14(e)-5 by continuing to purchase, either
directly or indirectly through its agents and affiliates, CLST shares. CLST also seeks to enjoin
Red Oak;

(d) | Enjoining Red Oak from violating Rule 14d-5(f) by retaining CLST’s stockholder
list and using that list to contact CLST’s shareholders;

(e) Prohibiting Red Oak from further violating Section 13(d) of the ’34 Act; and

(e) Granting such other and further relief as the Court may deem just and proper.

PLAINTIFFS’ ORIGINAL COMPLAINT
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Respectfully submitted,

JACKSON WALKER L.L.P.
901 Main Street, Suite 6000
Dallas, Texas 75202
Telephone: (214) 953-6000
Facsimile: (214) 953-5822

State Bar No. 24046091

ATTORNEYS FOR CLST HOLDINGS, INC.

PLAINTIFFS’ ORIGINAL COMPLAINT

AND APPLICATION FOR INJUNCTIVE RELIEF - Page 12
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RED OAK PARTNERS, LLC
145 4th Avenue, Suite 15A | New York, New York 10003
Telephone (212) 614-8952 | Facsimile (646) 390-6784

January 30, 2009 it

a
CLST Holdings, Ine, bly
17304 Preston Road, Suite 420 4 v
Dallas, Texas 75252 2

Attention: Robert A. Kaiser
Dear Mr. Kaiser:

Red Oak Partners, LLC (“Red Oak”) hereby rnakes a request to CLST Holdings, Inc. (the
“Company”) pursuant to Section 14d-5(z) of the Securities Exchange Act of 1934, as
amended (the “Exchange Act”), for the use of the Company's stockholder list and
security position listings for the purpose of disseminating a tender offer to the holders of
the Company's common stock, par value $0.01.

Red Oak is aware of and will comply with the provisions of Section 14d-5(f) under the
Exchange Act. Red Oak has elected pursuant to Section 14d-5(f)(1) under the Exchange
Act to require the Company to disseminate amendments disclosing material changes to
the tender offer materials pursuant to Section 14d-5.

Please contact me at (212) 614-8592 and at the address below with the notification
required under Section 14d-5(a)(4) or any questions regarding this request:

Red Oak Capital Partners, LUC
145 Fourth Avenue, Suite 15A
New York, NY 10003

Best regards,

Lun

David Sandberg
Portfolio Manager

PENGAD-Bayonne, N. J.

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UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
Washington, D.C. 20549

SCHEDULE TO

(Rule 14d-100)

Tender Offer Statement Under Section 14(d) (1) or 13(e) (1)
of the Securities Exchange Act of 1934

CLST Holdings, Inc.
{Name of Subject Company (Issuer) )

Red Oak Fund, L.P.
(Name of Filing Person (Offeror) )

Common Stock, $.01 par value
(Title of Class of Securities)

150925204
(CUSIP Number of Class of Securities)

David Sandberg

Red Oak Capital Partners, LLC
145 Fourth Avenue, Suite 15A
New York, NY 10003

(212) 614-8952

(Name, address and telephone number of person authorized to receive notices
and communications on behalf of filing person)
CALCULATION OF FILING FEE

Transaction Valuation*
N/A

Amount of Filing Fee**
N/A

* Estimated for purposes of calculating the filing fee only.

** The amount of the filing fee, calculated in accordance with Rule 0-11 under
the Securities Exchange Act of 1934, as amended.

_ Check the box if any part of the fee is offset as provided by Rule 0-11 (a) (2)
and identify the filing with which the offsetting fee was previously paid.
Identify the previous filing by registration statement number, or the Form or
Schedule and the date of its filing.

Amount Previously Paid: N/A

Filing Party: N/A

Form or Registration No.: N/A

EXHIBIT

Date Filed: N/A

http://www.sec.gov/Archives/edgar/data/9 13590/000139726109000003/clhischeduleto200... 2/13/2009

Page 2 of 3
‘ Case 3:09-cv.0020 Document 1 Filed 02/13/09 .- of 29 PagelD 15

X Check the box if the filing relates solely to preliminary communications made
before the commencement of a tender offer.

Check the appropriate boxes below to designate any transactions to which the
statement relates:

_ third-party tender offer subject to Rule 14d-1l.

_ issuer tender offer subject to Rule 13e-4.

_ going-private transaction subject to Rule 13e-3.

_ amendment to Schedule 13D under Rule 13d-2.

Check the following box if the filing is a final amendment reporting the results
of the tender offer:

FOR IMMEDIATE RELEASE

For further information contact David Sandberg, Red Oak Partners, LLC
(212) 614-8952, dsandberg@redoakpartners.com

Red Oak Announces Its Plan to Make a Tender Offer for Shares of CLST Holdings,
Inc.

February 3, 2009 (New York, New York): Red Oak Fund, LP ("Red Oak"), a fund
managed by Red Oak Partners, LLC, announced today that it intends to commence

a tender offer for up to 70% of the outstanding shares of CLST Holdings, Ine.
("CLHI"), which shares are traded on the pink sheets, at a offer price of $0.25
per share. The offer price will represent an approximate 72% premium over the
closing price on Monday, February 2, 2009, and an approximate 57% premium over
the prior 30-day average traded price of CLHI's common stock as reported on the
pink sheets. On January 30, 2009, Red Oak Partners, LLC both mailed and faxed a
letter requesting, pursuant to Rule 14d-5(a) of the rules and regulations of the
Securities Exchange Act of 1934, as amended, the use of the CLHI's stockholder
list and security position listings for the purpose of disseminating the
forthcoming offer to purchase and related materials to the holders of CLHI's
common stock.

Red Oak's offer to purchase will be filed with the Securities and Exchange
Commission on Schedule TO and will be made only by a formal offer to purchase
and letter of transmittal. The consummation of the tender offer will be subject
to the conditions to be specified in the offer documents.

Additional Information

The tender offer described in this press release has not yet commenced, and this
press release is neither an offer to purchase nor a solicitation of an offer to
sell CLHI's common stock. The solicitation and offer to purchase CLHI's common
stock will only be made pursuant to a formal offer to purchase and letter of
transmittal. At the time the tender offer is commenced, Red Oak will file the
offer to purchase and related materials with the Securities and Exchange
Commission. CLHI's stockholders should read the offer to purchase and other
related documents carefully when they become available since they will contain
important information, including the terms and conditions of the offer. The
offer to purchase and other filed documents will be available (when filed) for
free atthe Securities and Exchange Commission's website at www.sec.gov. The
offer to purchase and related materials will be provided (when available) at
no cost by Red Oak. Stockholders are encouraged to contact Mr. David Sandberg,
Managing Director of Red Oak at telephone number (212) 614-8952 or by email

at dsandberg@redoakpartners.com.

http://www.sec.gov/Archives/edgar/data/9 13590/000139726109000003/clhischeduleto200... 2/13/2009

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EX-99.1 2 a09-4634_lex99d1.htm EX-99.1
Exhibit 99.1

CLST HOLDINGS, INC. NEWS RELEASE

Contact:

Robert A. Kaiser
CLST Holdings, Inc.
(972) 267-0500
ir@clstholdings.com

Red Oak Fund LP Announces Intention to Commence Tender Offer For Shares of CLST Holdings, Inc.

Dallas, Texas (February 4, 2009) — CLST Holdings, Inc. announced today that it has been notified by Red Oak
Fund, L.P., a fund managed by Red Oak Partners, LLC, that it intends to commence a tender offer for up to 70% of the
outstanding shares of common stock of CLST at a price of $0.25 per share. The tender offer is under review and
consideration by CLST’s board of directors. No later than 10 business days from the date of commencement of Red Oak’s
tender offer, CLST will advise its stockholders of (1) whether it recommends acceptance or rejection of the tender offer;
expresses no opinion and remains neutral toward such tender offer; or is unable to take a position with respect to such tender
offer, and (2) the reasons for the position it takes. CLST requests its stockholders to defer making a determination whether to
accept or reject such tender offer until they have been advised of CLST’s position.

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8-K 1 a09-4928_18k.htm CURRENT REPORT OF MATERIAL EVENTS OR CORPORATE
CHANGES

UNITED STATES
SECURITIES AND EXCHANGE COMMISSION

Washington, D.C. 20549

FORM 8-K

CURRENT REPORT
Pursuant to Section 13 or 15(d) of
the Securities Exchange Act of 1934

Date of Report: February 5, 2009
(Date of earliest event reported)

CLST HOLDINGS, INC.

(Exact name of registrant as specified in its charter)

Delaware 0-22972 XX-XXXXXXX
(State or Other Jurisdiction of (Commission File Number) (I.R.S. Employer
incorporation) Identification No.)

17304 Preston Road, Suite 420
Dallas, Texas, 75252
(Address of principal executive offices and zip code)

(972) 267-0500
(Registrant’s telephone number, including area code)

Check the appropriate box below if the Form 8-K filing is intended to simultaneously satisfy the filing obligation of the
registrant under any of the following provisions (see General Instruction A.2. below):

Written communications pursuant to Rule 425 under the Securities Act (17 CFR 230.425)
Soliciting material pursuant to Rule 14a-12 under the Exchange Act (17 CFR 240.14a-12)
Pre-commencement communications pursuant to Rule 14d-2(b) under the Exchange Act (17 CFR 240.14d-2(b))
Pre-commencement communications pursuant to Rule 13e-4(c) under the Exchange Act (17 CFR 240.13e-4(c))

OOOO

EXHIBIT

Dp

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Item 1.01. Entry into a Material Definitive Agreement.

On February 5, 2009, CLST Holdings, Inc., a Delaware corporation (the “Company”), adopted a rights plan and
declared a dividend of one preferred share purchase right for each outstanding share common stock of the Company. The
dividend is payable to our stockholders of record as of February 16, 2009. The terms of the rights and the rights plan will be
set forth in a Rights Agreement, by and between the Company and Mellon Investor Services LLC, as Rights Agent (the
“Rights Plan’).

This summary of rights provides only a general description of the Rights Plan, and thus, should be read together
with the entire Rights Plan, which will be filed as an exhibit to the registration statement on Form 8-A that will be filed by
the Company at the time the dividend is payable.

CLST adopted the Rights Plan in an effort to protect stockholder value by attempting to protect against a possible
limitation on our ability to use our net operating loss carryforwards (the “NOLs”) to reduce potential future federal income
tax obligations. We have experienced and continue to experience substantial operating losses, and under the Internal Revenue
Code and rules promulgated by the Internal Revenue Service, we may “carry forward” these losses in certain circumstances
to offset any current and future earnings and thus reduce our federal income tax liability, subject to certain requirements and
restrictions. To the extent that the NOLs do not otherwise become limited, we believe that we will be able to carry forward a
significant amount of NOLs, and therefore these NOLs could be a substantial asset to us. However, if we experience an
“Ownership Change,” as defined in Section 382 of the Internal Revenue Code, our ability to use the NOLs will be
substantially limited, and the timing of the usage of the NOLs could be substantially delayed, which could therefore
significantly impair the value of that asset.

The Rights Plan is intended to act as a deterrent to any person or group acquiring 4.9% or more of our outstanding
common stock (an “Acquiring Person’) without our approval. Stockholders who own 4.9% or more of our outstanding
common stock as of the close of business on February 16, 2009 will not trigger the Rights Plan so long as they do not
(i) acquire any additional shares of common stock or (ii) fall under 4.9% ownership of common stock and then re-acquire
4.9% or more of the common stock. The Rights Plan does not exempt any future acquisitions of common stock by such
persons. Any rights held by an Acquiring Person are null and void and may not be exercised. We may, in its sole discretion,
exempt any person or group from being deemed an Acquiring Person for purposes of the Rights Plan.

The Rights. We authorized the issuance of one right per each outstanding share of our common stock payable to our
stockholders of record as of February 16, 2009. Subject to the terms, provisions and conditions of the Rights Plan, if the
rights become exercisable, each right would initially represent the right to purchase from us one ten-thousandth of a share of
our Series B Junior Participating Preferred Stock (“Series B Preferred Stock’) for a purchase price of $6.01 (the “Purchase
Price”). If issued, each fractional share of Series B Preferred Stock would give the stockholder approximately the same
dividend, voting and liquidation rights as does one share of our common stock. However, prior to exercise, a right does not
give its holder any rights as a stockholder of the Company, including without limitation any dividend, voting or liquidation
rights.

Series B Preferred Stock Provisions. Each one ten-thousandth of a share of Series B Preferred Stock, if issued:

(1) will not be redeemable; (2) will entitle holders to quarterly dividend payments of $0.01 per one ten-thousandth of a share
of Series B Preferred Stock, or an amount equal to the dividend paid on one share of common stock, whichever is greater;
(3) will entitle holders upon liquidation either to receive $1.00 per one ten-thousandth of a share of Series B Preferred Stock
or an amount equal to the payment made on one share of common stock, whichever is greater; (4) will have the same voting
power as one share of common stock; and (5) if shares of our common stock are exchanged via merger, consolidation, or a
similar transaction, will entitle holders to a per share payment equal to the payment made on one share of common stock.
The value of one one-hundredth interest in a Preferred Share should approximate the value of one share of common stock.

Exercisability. The rights will not be exercisable until the earlier of (i) 10 business days after a public announcement
by us that a person or group has become an Acquiring Person and (ii) 10 business days after the commencement of a tender
or exchange offer by a person or group for 4.9% of the common stock.

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We refer to the date that the rights become exercisable as the “Distribution Date.” Until the Distribution Date, our
common stock certificates will evidence the rights and will contain a notation to that effect. Any transfer of shares of
common stock prior to the Distribution Date will constitute a transfer of the associated rights. After the Distribution Date, the
rights may be transferred other than in connection with the transfer of the underlying shares of common stock.

After the Distribution Date, each holder of a right, other than rights beneficially owned by the Acquiring Person
(which will thereupon become null and void), will thereafter have the right to receive upon exercise of a right and payment of
the Purchase Price, that number of shares of common stock having a market value at the time of exercise of two times the
Purchase Price.

Exchange. After the Distribution Date, we may exchange the rights (other than rights owned by an Acquiring
Person, which will have become null and void), in whole or in part, at an exchange ratio of one share of common stock, or a
fractional share of Series B Preferred Stock (or of a share of a similar class or series of the Company’s preferred stock having
similar rights, preferences and privileges) of equivalent value, per right (subject to adjustment).

Expiration. The rights and the Rights Plan will expire on the earliest of (i) February 13, 2019, (ii) the time at which
the rights are redeemed pursuant to the Rights Agreement, (iii) the time at which the rights are exchanged pursuant to the
Rights Agreement, (iv) the repeal of Section 382 of the Code or any successor statute if we determine that the Rights
Agreement is no longer necessary for the preservation of NOLs, and (v) the beginning of a taxable year of the Company to
which we determine that no NOLs may be carried forward.

Redemption. At any time prior to the time an Acquiring Person becomes such, we may redeem the rights in whole,
but not in part, at a price of $0.01 per right (the “Redemption Price”). The redemption of the rights may be made effective at
such time, on such basis and with such conditions as we in our sole discretion may establish. Immediately upon any
redemption of the rights, the right to exercise the rights will terminate and the only right of the holders of rights will be to
receive the Redemption Price.

Anti-Dilution Provisions. We may adjust the purchase price of the shares of Series B Preferred Stock, the number of
shares of Series B Junior Preferred Stock issuable and the number of outstanding rights to prevent dilution that may occur as
a result of certain events, including among others, a stock dividend, a stock split or a reclassification of the shares of Series B
Preferred Stock or our common stock. No adjustments to the purchase price of less than 1% will be made.

Amendments. Before the Distribution Date, we may amend or supplement the Rights Plan without the consent of the
holders of the rights. After the Distribution Date, we may amend or supplement the rights Plan only to cure an ambiguity, to
alter time period provisions, to correct inconsistent provisions, or to make any additional changes to the Rights Plan, but only
to the extent that those changes do not impair or adversely affect any rights holder.

The rights have certain anti-takeover effects. The rights will cause substantial dilution to a person or group who
attempts to acquire the Company on terms not approved by us. The rights should not interfere with any merger or other
business combination approved by us since we may redeem the rights at $0.01 per right at any time until the date on which a
person or group has become an Acquiring Person.

Item 3.03. Material Modification to Rights of Security Holders.

The information set forth under “Item 1.01. Entry into a Material Definitive Agreement” of this Current Report on
Form 8-K is incorporated into this Item 3.03 by reference.

Item 5.03. Amendments to Articles of Incorporation or Bylaws; Change in Fiscal Year

In connection with the adoption of the Rights Plan, we approved a Certificate of Designations of Series B Junior
Participating Preferred Stock designating 200,000 shares of Series B Preferred Stock. We filed the

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Certificate of Designations for the shares of Series B Preferred Stock on February 5, 2009 with the Secretary of State of the
State of Delaware and the Certificate of Designations became effective on such date. The full text of the Certificate of
Designations is attached hereto as Exhibit 3.1 and is incorporated herein by reference. A description of the shares of Series B
Preferred Stock is set forth in Item 1.01 of this Current Report on Form 8-K and is incorporated herein by reference. Such
description is qualified in its entirety by reference to the Certificate of Designations.

Item 9.01. Financial Statements and Exhibits.

(d) Exhibits
3.1 Certificate of Designations of Series B Junior Participating Preferred Stock.
99.1 Press release issued February 5, 2009 by the Company

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Signature

Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be
signed on its behalf by the undersigned hereunto duly authorized.

CLST HOLDINGS, INC.

By:/s/ ROBERT A. KAISER
Robert A. Kaiser
President, Chief Executive Officer,
Chief Financial Officer, Treasurer and Assistant
Secretary

February 5, 2009

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UNITED STATES

SECURITIES AND EXCHANGE COMMISSION
Washington, D.C. 20549

SCHEDULE TO

(Rule 14d~-100)

Tender Offer Statement Under Section 14(d)(1) or 13(e) (1)
of the Securities Exchange Act of 1934

CLST Holdings, Inc.
(Name of Subject Company (Issuer) )

Red Oak Fund, L.P.
(Name of Filing Person (Offeror) )

Common Stock, $.01 par value
(Title of Class of Securities)

150925204
(CUSIP Number of Class of Securities)

David Sandberg

Red Oak Capital Partners, LLC
145 Fourth Avenue, Suite 15A
New York, NY 10003

(212) 614-8952

(Name, address and telephone number of person authorized to receive notices
and communications on behalf of filing person)
CALCULATION OF FILING FEE

Transaction Valuation*
N/A

Amount of Filing Fee**
N/A

* Estimated for purposes of calculating the filing fee only.

** The amount of the filing fee, calculated in accordance with Rule 0-11 under
the Securities Exchange Act of 1934, as amended.

_ Check the box if any part of the fee is offset as provided by Rule 0-11 (a) (2)
and identify the filing with which the offsetting fee was previously paid.
Identify the previous filing by registration statement number, or the Form or
Schedule and the date of its filing.

Amount Previously Paid: N/A

Filing Party: N/A

Form or Registration No.: N/A

Date Filed: N/A

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Page 2 of 3
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[X] Check the box if the filing relates solely to preliminary communications
made before the commencement of a tender offer.

Check the appropriate boxes below to designate any transactions to which the
statement relates:

[ ] third-party tender offer subject to Rule 14d-1.

[ ] issuer tender offer subject to Rule 13e-4.

[ ] going-private transaction subject to Rule 13e-3.

[ ] amendment to Schedule 13D under Rule 13d-2.

Check the following box if the filing is a final amendment reporting the results
of the tender offer: [ ]

FOR IMMEDIATE RELEASE

For further information contact David Sandberg,
Red Oak Partners, LLC
(212) 614-8952, dsandberg@redoakpartners.com

Red Oak Abandons Previously Announced Tender Offer Plans Due to Adoption by
CLST Holdings, Inc. of a "Poison Pill" Rights Plan

New York, New York, February 9, 2009. Red Oak Fund, LP ("Red Oak"), a fund
managed by Red Oak Partners, LLC, announced today that it is terminating its
previously announced plan to commence a tender offer for shares of common stock
of CLST Holdings, Inc. ("CLHI") in light of CLHI's announcement on Friday,
February 6th that it adopted a "poison pill" rights plan. "This hostile action
by CLHI makes little sense to us given our intent to conduct a friendly offer
to shareholders to provide a liquidity opportunity (in an otherwise illiquid
security) at a significant premium to prior and 30-day average prices," said
David Sandberg, managing partner of Red Oak Partners, LLC. Mr. Sandberg
continued: "As the company is under a shareholder-approved plan of dissolution,
the adoption of this poison pill causes us to question whether: a) the
shareholder-approved plan of dissolution is still in place; or b) CLHI's Board
wants to abandon the plan approved by shareholders and already in place. We
are dismayed that they took this step without even evaluating the terms of our
intended offer which would have been set forth in our offer documents. On
Tuesday, February 3rd, we received communication via email from CLHI indicating
they would like to discuss our plans, but on the call all they did was indicate
they would comply with their legal obligations and provide a shareholder list.
This seems to indicate to us that the Board's entrenching its position takes
precedence over providing details of an offer to shareholders and allowing
shareholders to decide for themselves, particularly when no such rights plan or
provision was in place prior to our announcement."

"We question the purported excuse or rationale for this plan about preserving
net operating loss carryforwards in the company. Since CLHI had previously
adopted a plan to liquidate, it does not appear to us that the net operating
loss carry forward or NOL will ever benefit the current shareholders.
Virtually all companies under shareholder-approved plans of dissolution have
net losses from operations, thus we think the market attaches little relevance
to tax loss carryforwards (NOLs) for such companies." Mr. Sandberg continued,
"CLHI has included provisions in its poison pill which seem directly intended
to limit our tender offer. As large current shareholders, we are concerned
with the Board's actions and intentions."

In light of the actions taken by CLHI in adopting its rights plan, Red Oak is

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abandoning its previously announced plan to commence a tender offer for CLHI
shares. Mr. Sandberg stated, "we are very disappointed that CLHI has seen fit
to block a potential source of liquidity for its shareholders."

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From: Marcelo Claure <marcelo.claure@BRIGHTSTARCORP.com>
To: 'rakkaiser@aol.com' <rakkaiser@aol.com>

Sent: Thu, 12 Feb 2009 6:14 pm

Subject: RE: (no subject)

EXHIBIT

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3
é

Both - red oak more aggressive.

REDACTED

R. Marcelo Claure
Chairman & CEO
Brightstar

9725 NW 117th Avenue #300 | Miami, FL 33178 phone | 305.421.6000 email | marcelo.claure@brightstarcorp.com

1

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From: rakkaiser@aol.com [mailto:rakkaiser@aol.com]

Sent: Thursday, February 12, 2009 7:04 PM

To: Marcelo Claure

Subject: Re: (no subject)

Marcelo

Is it David Sandberg or Red Oak Partners the ones asking for your shares??
Robert Kaiser

w 972-267-0500 ext 4101
c 972-679-6667

From: Marcelo Claure <marcelo.claure@BRIGHTSTARCORP.com>
To: Robert Kaiser (rakkaiser@aol.com) <rakkaiser@aol.com>

Sent: Thu, 12 Feb 2009 5:28 pm

Subject: (no subject)

Hey, its Marcelo. Can you call me. Have a question

R. Marcelo Claure

Chairman & CEO

Brightstar

9725 NW 117th Avenue #300 | Miami, FL 33178
phone | 305.421.6000

email | marcelo.claure@brightstarcorp.com
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IS 44 (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the informatign cantained herein neither replace nor supplement the filing and service of pleadings or other papers as re uired by law, except as provided
by local rules of court. This form, approved by.th thd Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of imitiating
the civil docket sheet. (SEE a ON] VERSE OF THE FORM.)

I. (a) PLAINTIFFS yoy DEFENDANTS
CLST Holdings, ane’, RED OAK FUND, LP, RED OAK PARTNERS, LLC, and
N° AWD SANDBERG
(b) County of Residence of First Listed Plaintiff Dallas Count We unty Af Residence of First Listed Defendant Newcastle County, Del.
(EXCEPT IN U.S. PLAINTIFF CASES) (IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
iS LAND INVOLVED.

<ee3 -O9CVO2Z91-P

aE Crnicanom OF PRINCIPAL PARTIES lace an “X” in One Box for Plaintiff

(c) Attorney’s (Firm Name, Address, and Telephone Number,

Jackson Walker L.L.P., 901 Main Str
Dallas, Texas 75202
II. BASIS OF JURISDICTION (Place an “X” in One Box

(For Diversity Cases Only) and One Box for Defendant)
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Plaintiff (U.S. Government Not a Party) Citizen of This State © 1 © 1 Incorporated or Principal Place w4 04
of Business In This State

02 US. Government 04 Diversity Citizen of Another State O 2 © 2 Incorporated and Principal Place aos 5

Defendant . a : woe of Business In Another State

(Indicate Citizenship of Parties in Item IT])
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Foreign Country

IV. NATURE OF Sur Place an “X” in One t Box Onl:

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© 120 Marine O 310 Airplane © 362 Personal Injury - © 620 Other Food & Drug O 423 Withdrawal O 410 Antitrust
0 130 Miller Act © 315 Airplane Product Med. Malpractice © 625 Drug Related Seizure 28 USC 157 G 430 Banks and Banking
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(Excl. Veterans) (345 Marine Product OG 370 Other Fraud a 690 Other 11 810 Selective Service
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Employment (O 550 Civil Rights 01 463 Habeas Corpus - to Justice
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Cite the RS Cig. Sta tatute SngEp Which for gre filing (Do not cite jurisdictional s ity):
VI. CAUSE OF ACTION Brief description of cause:
Securities violations.
VII. REQUESTEDIN 0 CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C.P. 23 JURY DEMAND: OyYes No
VII. RELATED CASE(S)
IF ANY (See mano wae ~~ DOCKET NUMBER

DATE 8 E ORATTORVEY pe RECORD
02/13/2009
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